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                               Exhibit 91



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
Case 1:01-cv-12257-PBS Document 6528-92 Filed 09/22/09 Page 2 of 14
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                                                                  Attachment 1
                                                    ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                                Price Info                            Price Info
                                       Formlry                                      Price Info    Price Info    FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc        Product ID       Formlry Product Label Name    Eff Date     End Date         Amt       AWP Amt      AWP - X%       Amt
00054 - ROXANE LABORATORIES, INC.    00054302502   ACETYLCYSTEINE 10% VIAL           10/1/1998    11/30/2000         $0.46        $0.39         5%        $0.37
00054 - ROXANE LABORATORIES, INC.    00054302502   ACETYLCYSTEINE 10% VIAL           7/21/2005                       $0.98        $0.39        17%        $0.32
00054 - ROXANE LABORATORIES, INC.    00054302702   ACETYLCYSTEINE 10% VIAL           10/1/1997     9/30/1998         $0.98        $0.65         5%        $0.62
00054 - ROXANE LABORATORIES, INC.    00054302702   ACETYLCYSTEINE 10% VIAL           1/22/2002    11/30/2002         $0.76        $0.65         5%        $0.62
00054 - ROXANE LABORATORIES, INC.    00054302702   ACETYLCYSTEINE 10% VIAL           12/1/2002     3/31/2003         $0.76        $0.65        10%        $0.59
00054 - ROXANE LABORATORIES, INC.    00054302702   ACETYLCYSTEINE 10% VIAL           7/21/2005                       $0.98        $0.65        17%        $0.54
00054 - ROXANE LABORATORIES, INC.    00054805905   ACETYLCYSTEINE 10% VIAL           10/1/1997    11/30/2000         $0.63        $0.64         5%        $0.61
00054 - ROXANE LABORATORIES, INC.    00054805905   ACETYLCYSTEINE 10% VIAL           12/1/2000     1/21/2002         $0.81        $0.64         5%        $0.61
00054 - ROXANE LABORATORIES, INC.    00054805905   ACETYLCYSTEINE 10% VIAL           7/21/2005                       $0.98        $0.64        17%        $0.53
00054 - ROXANE LABORATORIES, INC.    00054302602   ACETYLCYSTEINE 20% VIAL           10/1/1997     9/30/1998         $0.42        $0.43         5%        $0.41
00054 - ROXANE LABORATORIES, INC.    00054302602   ACETYLCYSTEINE 20% VIAL           10/1/1998    11/30/2000         $0.44        $0.43         5%        $0.41
00054 - ROXANE LABORATORIES, INC.    00054302802   ACETYLCYSTEINE 20% VIAL           10/1/1997     9/30/1998         $1.22        $0.82         5%        $0.77
00054 - ROXANE LABORATORIES, INC.    00054302802   ACETYLCYSTEINE 20% VIAL           1/22/2002    11/30/2002         $0.93        $0.82         5%        $0.77
00054 - ROXANE LABORATORIES, INC.    00054302802   ACETYLCYSTEINE 20% VIAL           12/1/2002     5/31/2003         $0.93        $0.82        10%        $0.73
00054 - ROXANE LABORATORIES, INC.    00054806005   ACETYLCYSTEINE 20% VIAL           10/1/1997     9/30/1998         $0.71        $0.70         5%        $0.66
00054 - ROXANE LABORATORIES, INC.    00054806005   ACETYLCYSTEINE 20% VIAL           10/1/1998    11/30/2000         $0.91        $0.70         5%        $0.66
00054 - ROXANE LABORATORIES, INC.    00054404125   AMITRIPTYLINE HCL 10MG TAB          7/1/2002   11/30/2002         $0.09        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054404125   AMITRIPTYLINE HCL 10MG TAB        12/1/2002     3/31/2003         $0.09        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054404125   AMITRIPTYLINE HCL 10MG TAB          4/1/2003    8/31/2004         $0.06        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054404125   AMITRIPTYLINE HCL 10MG TAB          9/1/2004                      $0.06        $0.04        17%        $0.03
00054 - ROXANE LABORATORIES, INC.    00054804125   AMITRIPTYLINE HCL 10MG TAB          7/1/2002   11/30/2002         $0.09        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054804125   AMITRIPTYLINE HCL 10MG TAB        12/1/2002     3/31/2003         $0.09        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054804125   AMITRIPTYLINE HCL 10MG TAB          4/1/2003    8/31/2004         $0.06        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054804125   AMITRIPTYLINE HCL 10MG TAB          9/1/2004                      $0.06        $0.04        17%        $0.03
00054 - ROXANE LABORATORIES, INC.    00054404225   AMITRIPTYLINE HCL 25MG TAB          7/1/2002   11/30/2002         $0.09        $0.08         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054404225   AMITRIPTYLINE HCL 25MG TAB        12/1/2002     3/31/2003         $0.09        $0.08        10%        $0.08
00054 - ROXANE LABORATORIES, INC.    00054404231   AMITRIPTYLINE HCL 25MG TAB          7/1/2002   11/30/2002         $0.09        $0.08         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054404231   AMITRIPTYLINE HCL 25MG TAB        12/1/2002     3/31/2003         $0.09        $0.08        10%        $0.08
00054 - ROXANE LABORATORIES, INC.    00054804225   AMITRIPTYLINE HCL 25MG TAB          7/1/2002   11/30/2002         $0.09        $0.08         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054804225   AMITRIPTYLINE HCL 25MG TAB        12/1/2002     3/31/2003         $0.09        $0.08        10%        $0.08
00054 - ROXANE LABORATORIES, INC.    00054314658   CHLORPROMAZINE 100 MG/ML CON        3/1/1994    4/30/1994         $0.08        $0.08         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054314658   CHLORPROMAZINE 100 MG/ML CON        8/1/1994      4/2/1995        $0.09        $0.08         5%        $0.08



                                                                                                                                                              Page 1 of 9
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                                                                  Attachment 1
                                                    ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                                Price Info                            Price Info
                                       Formlry                                      Price Info    Price Info    FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc        Product ID       Formlry Product Label Name    Eff Date     End Date         Amt       AWP Amt      AWP - X%       Amt
00054 - ROXANE LABORATORIES, INC.    00054314658   CHLORPROMAZINE 100 MG/ML CON        4/3/1995    4/30/1995         $0.09        $0.08         5%        $0.08
00054 - ROXANE LABORATORIES, INC.    00054314658   CHLORPROMAZINE 100 MG/ML CON        5/1/1995    7/31/1996         $0.09        $0.08         5%        $0.08
00054 - ROXANE LABORATORIES, INC.    00054314658   CHLORPROMAZINE 100 MG/ML CON        8/1/1996    9/30/1998         $0.13        $0.08         5%        $0.08
00054 - ROXANE LABORATORIES, INC.    00054314450   CHLORPROMAZINE 30 MG/ML CONC        3/1/1994    4/30/1994         $0.06        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054314450   CHLORPROMAZINE 30 MG/ML CONC        5/1/1994    7/31/1994         $0.06        $0.05         5%        $0.05
00054 - ROXANE LABORATORIES, INC.    00054314450   CHLORPROMAZINE 30 MG/ML CONC        8/1/1994   12/31/1994         $0.07        $0.05         5%        $0.05
00054 - ROXANE LABORATORIES, INC.    00054314450   CHLORPROMAZINE 30 MG/ML CONC        1/1/1995    4/30/1995         $0.07        $0.05         5%        $0.05
00054 - ROXANE LABORATORIES, INC.    00054314450   CHLORPROMAZINE 30 MG/ML CONC        5/1/1995    7/31/1996         $0.07        $0.05         5%        $0.04
00054 - ROXANE LABORATORIES, INC.    00054314450   CHLORPROMAZINE 30 MG/ML CONC        8/1/1996    1/31/1997         $0.07        $0.05         5%        $0.05
00054 - ROXANE LABORATORIES, INC.    00054422121   DICLOFENAC SOD 50 MG TAB EC         8/1/1996    1/31/1997         $0.84        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422121   DICLOFENAC SOD 50 MG TAB EC         2/1/1997    9/30/1997         $0.85        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422121   DICLOFENAC SOD 50 MG TAB EC       10/1/1997     9/30/1998         $0.83        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422125   DICLOFENAC SOD 50 MG TAB EC         8/1/1996    1/31/1997         $0.84        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422125   DICLOFENAC SOD 50 MG TAB EC         2/1/1997    9/30/1997         $0.85        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422125   DICLOFENAC SOD 50 MG TAB EC       10/1/1997     9/30/1998         $0.83        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422131   DICLOFENAC SOD 50 MG TAB EC         8/1/1996    1/31/1997         $0.84        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422131   DICLOFENAC SOD 50 MG TAB EC         2/1/1997    9/30/1997         $0.85        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422131   DICLOFENAC SOD 50 MG TAB EC       10/1/1997     9/30/1998         $0.83        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054822125   DICLOFENAC SOD 50 MG TAB EC         8/1/1996    1/31/1997         $0.84        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054822125   DICLOFENAC SOD 50 MG TAB EC         2/1/1997    9/30/1997         $0.85        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054822125   DICLOFENAC SOD 50 MG TAB EC       10/1/1997     9/30/1998         $0.83        $0.86         5%        $0.82
00054 - ROXANE LABORATORIES, INC.    00054422221   DICLOFENAC SOD 75 MG TAB EC         8/1/1996    1/31/1997         $1.01        $1.04         5%        $0.99
00054 - ROXANE LABORATORIES, INC.    00054422225   DICLOFENAC SOD 75 MG TAB EC         8/1/1996    1/31/1997         $1.01        $1.04         5%        $0.99
00054 - ROXANE LABORATORIES, INC.    00054422231   DICLOFENAC SOD 75 MG TAB EC         8/1/1996    1/31/1997         $1.01        $1.04         5%        $0.99
00054 - ROXANE LABORATORIES, INC.    00054822225   DICLOFENAC SOD 75 MG TAB EC         8/1/1996    1/31/1997         $1.01        $1.04         5%        $0.99
00054 - ROXANE LABORATORIES, INC.    00054420025   DIPHENOXYLATE/ATROPINE TAB        10/1/1997       4/7/1998        $0.43        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054420025   DIPHENOXYLATE/ATROPINE TAB        1/22/2002    11/30/2002         $0.37        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054420025   DIPHENOXYLATE/ATROPINE TAB        12/1/2002     8/31/2004         $0.37        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054420025   DIPHENOXYLATE/ATROPINE TAB          9/1/2004   10/27/2004         $0.37        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054420025   DIPHENOXYLATE/ATROPINE TAB       10/28/2004                       $0.11        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054420031   DIPHENOXYLATE/ATROPINE TAB        10/1/1997       4/7/1998        $0.43        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054420031   DIPHENOXYLATE/ATROPINE TAB        1/22/2002    11/30/2002         $0.37        $0.07         5%        $0.07



                                                                                                                                                              Page 2 of 9
                                 Case 1:01-cv-12257-PBS Document 6528-92 Filed 09/22/09 Page 8 of 14
                                                                  Attachment 1
                                                    ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                                Price Info                            Price Info
                                       Formlry                                      Price Info    Price Info    FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc        Product ID       Formlry Product Label Name    Eff Date     End Date         Amt       AWP Amt      AWP - X%       Amt
00054 - ROXANE LABORATORIES, INC.    00054420031   DIPHENOXYLATE/ATROPINE TAB        12/1/2002     8/31/2004         $0.37        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054420031   DIPHENOXYLATE/ATROPINE TAB          9/1/2004   10/27/2004         $0.37        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054420031   DIPHENOXYLATE/ATROPINE TAB       10/28/2004                       $0.11        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054819611   DIPHENOXYLATE/ATROPINE TAB        10/1/1997       4/7/1998        $0.43        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054819611   DIPHENOXYLATE/ATROPINE TAB        1/22/2002    11/30/2002         $0.37        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054819611   DIPHENOXYLATE/ATROPINE TAB        12/1/2002     8/31/2004         $0.37        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054819611   DIPHENOXYLATE/ATROPINE TAB          9/1/2004   10/27/2004         $0.37        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054819611   DIPHENOXYLATE/ATROPINE TAB       10/28/2004                       $0.11        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054820024   DIPHENOXYLATE/ATROPINE TAB        10/1/1997       4/7/1998        $0.43        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054820024   DIPHENOXYLATE/ATROPINE TAB        1/22/2002    11/30/2002         $0.37        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054820024   DIPHENOXYLATE/ATROPINE TAB        12/1/2002     8/31/2004         $0.37        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054820024   DIPHENOXYLATE/ATROPINE TAB          9/1/2004   10/27/2004         $0.37        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054820024   DIPHENOXYLATE/ATROPINE TAB       10/28/2004                       $0.11        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054820025   DIPHENOXYLATE/ATROPINE TAB        10/1/1997       4/7/1998        $0.43        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054820025   DIPHENOXYLATE/ATROPINE TAB        1/22/2002    11/30/2002         $0.37        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054820025   DIPHENOXYLATE/ATROPINE TAB        12/1/2002     8/31/2004         $0.37        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054820025   DIPHENOXYLATE/ATROPINE TAB          9/1/2004   10/27/2004         $0.37        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054820025   DIPHENOXYLATE/ATROPINE TAB       10/28/2004                       $0.11        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054841825   IMIPRAMINE HCL 10MG TABLET        12/1/2000     1/21/2002         $0.16        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054841825   IMIPRAMINE HCL 10MG TABLET        1/22/2002    11/30/2002         $0.15        $0.07         5%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054841825   IMIPRAMINE HCL 10MG TABLET        12/1/2002     3/31/2003         $0.15        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054841825   IMIPRAMINE HCL 10MG TABLET          4/1/2003    8/31/2003         $0.32        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054841825   IMIPRAMINE HCL 10MG TABLET          9/1/2003    8/31/2004         $0.26        $0.07        10%        $0.07
00054 - ROXANE LABORATORIES, INC.    00054841825   IMIPRAMINE HCL 10MG TABLET          9/1/2004                      $0.26        $0.07        17%        $0.06
00054 - ROXANE LABORATORIES, INC.    00054441931   IMIPRAMINE HCL 25 MG TABLET       12/1/2000     1/21/2002         $0.19        $0.11         5%        $0.10
00054 - ROXANE LABORATORIES, INC.    00054441931   IMIPRAMINE HCL 25 MG TABLET       1/22/2002    11/30/2002         $0.17        $0.11         5%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054441931   IMIPRAMINE HCL 25 MG TABLET       12/1/2002     3/31/2003         $0.17        $0.11        10%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054441931   IMIPRAMINE HCL 25 MG TABLET         4/1/2003    8/31/2003         $0.43        $0.11        10%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054441931   IMIPRAMINE HCL 25 MG TABLET         9/1/2003    8/31/2004         $0.36        $0.11        10%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054441931   IMIPRAMINE HCL 25 MG TABLET         9/1/2004                      $0.36        $0.11        17%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054841925   IMIPRAMINE HCL 25 MG TABLET       12/1/2000     1/21/2002         $0.19        $0.11         5%        $0.10
00054 - ROXANE LABORATORIES, INC.    00054841925   IMIPRAMINE HCL 25 MG TABLET       1/22/2002    11/30/2002         $0.17        $0.11         5%        $0.10



                                                                                                                                                              Page 3 of 9
                                 Case 1:01-cv-12257-PBS Document 6528-92 Filed 09/22/09 Page 9 of 14
                                                                  Attachment 1
                                                    ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                               Price Info                            Price Info
                                       Formlry                                      Price Info    Price Info   FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc        Product ID       Formlry Product Label Name    Eff Date     End Date        Amt       AWP Amt      AWP - X%       Amt
00054 - ROXANE LABORATORIES, INC.    00054841925   IMIPRAMINE HCL 25 MG TABLET       12/1/2002     3/31/2003        $0.17        $0.11        10%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054841925   IMIPRAMINE HCL 25 MG TABLET         4/1/2003    8/31/2003        $0.43        $0.11        10%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054841925   IMIPRAMINE HCL 25 MG TABLET         9/1/2003    8/31/2004        $0.36        $0.11        10%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054841925   IMIPRAMINE HCL 25 MG TABLET         9/1/2004                     $0.36        $0.11        17%        $0.09
00054 - ROXANE LABORATORIES, INC.    00054442031   IMIPRAMINE HCL 50 MG TABLET       12/1/2000     1/21/2002        $0.23        $0.13         5%        $0.12
00054 - ROXANE LABORATORIES, INC.    00054442031   IMIPRAMINE HCL 50 MG TABLET       1/22/2002    11/30/2002        $0.20        $0.13         5%        $0.12
00054 - ROXANE LABORATORIES, INC.    00054442031   IMIPRAMINE HCL 50 MG TABLET       12/1/2002     3/31/2003        $0.20        $0.13        10%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054442031   IMIPRAMINE HCL 50 MG TABLET         4/1/2003    8/31/2003        $0.56        $0.13        10%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054442031   IMIPRAMINE HCL 50 MG TABLET         9/1/2003    8/31/2004        $0.46        $0.13        10%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054442031   IMIPRAMINE HCL 50 MG TABLET         9/1/2004                     $0.46        $0.13        17%        $0.10
00054 - ROXANE LABORATORIES, INC.    00054842025   IMIPRAMINE HCL 50 MG TABLET       12/1/2000     1/21/2002        $0.23        $0.13         5%        $0.12
00054 - ROXANE LABORATORIES, INC.    00054842025   IMIPRAMINE HCL 50 MG TABLET       1/22/2002    11/30/2002        $0.20        $0.13         5%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054842025   IMIPRAMINE HCL 50 MG TABLET       12/1/2002     3/31/2003        $0.20        $0.13        10%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054842025   IMIPRAMINE HCL 50 MG TABLET         4/1/2003    8/31/2003        $0.56        $0.13        10%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054842025   IMIPRAMINE HCL 50 MG TABLET         9/1/2003    8/31/2004        $0.46        $0.13        10%        $0.11
00054 - ROXANE LABORATORIES, INC.    00054842025   IMIPRAMINE HCL 50 MG TABLET         9/1/2004                     $0.46        $0.13        17%        $0.10
00054 - ROXANE LABORATORIES, INC.    00054449613   LEUCOVORIN CALCIUM 5 MG TAB         8/1/1994   12/31/1994        $2.98        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054449613   LEUCOVORIN CALCIUM 5 MG TAB         1/1/1995    7/31/1995        $2.76        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054449613   LEUCOVORIN CALCIUM 5 MG TAB         8/1/1995   11/30/2000        $2.10        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054449625   LEUCOVORIN CALCIUM 5 MG TAB         8/1/1994   12/31/1994        $2.98        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054449625   LEUCOVORIN CALCIUM 5 MG TAB         1/1/1995    7/31/1995        $2.76        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054449625   LEUCOVORIN CALCIUM 5 MG TAB         8/1/1995   11/30/2000        $2.10        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054849619   LEUCOVORIN CALCIUM 5MG TAB          2/1/1996   11/30/2000        $2.10        $2.03         5%        $1.93
00054 - ROXANE LABORATORIES, INC.    00054253725   LOPERAMIDE 2 MG CAPSULE             3/1/1994    4/30/1994        $0.44        $0.35         5%        $0.33
00054 - ROXANE LABORATORIES, INC.    00054253725   LOPERAMIDE 2 MG CAPSULE             5/1/1994    7/31/1994        $0.44        $0.37         5%        $0.35
00054 - ROXANE LABORATORIES, INC.    00054253729   LOPERAMIDE 2 MG CAPSULE             3/1/1994    4/30/1994        $0.44        $0.35         5%        $0.33
00054 - ROXANE LABORATORIES, INC.    00054253729   LOPERAMIDE 2 MG CAPSULE             5/1/1994    7/31/1994        $0.44        $0.35         5%        $0.35
00054 - ROXANE LABORATORIES, INC.    00054853725   LOPERAMIDE 2 MG CAPSULE             3/1/1994    4/30/1994        $0.44        $0.35         5%        $0.33
00054 - ROXANE LABORATORIES, INC.    00054853725   LOPERAMIDE 2 MG CAPSULE             5/1/1994    7/31/1994        $0.44        $0.39         5%        $0.35
00054 - ROXANE LABORATORIES, INC.    00054455015   METHOTREXATE 2.5 MG TABLET          1/1/1995    7/31/1995        $2.99        $3.05         5%        $2.90
00054 - ROXANE LABORATORIES, INC.    00054455025   METHOTREXATE 2.5 MG TABLET          1/1/1995    7/31/1995        $2.99        $3.05         5%        $2.90
00054 - ROXANE LABORATORIES, INC.    00054855025   METHOTREXATE 2.5 MG TABLET          1/1/1995    7/31/1995        $2.99        $3.05         5%        $2.90



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                                                                 Attachment 1
                                                   ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                              Price Info                            Price Info
                                      Formlry                                      Price Info    Price Info   FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc       Product ID       Formlry Product Label Name    Eff Date     End Date        Amt       AWP Amt      AWP - X%       Amt
00054 - ROXANE LABORATORIES, INC.   00054261625   MEXILETINE 150 MG CAPSULE         10/1/1997     9/30/1998        $0.77        $0.69         5%        $0.66
00054 - ROXANE LABORATORIES, INC.   00054261625   MEXILETINE 150 MG CAPSULE         10/1/1998    11/30/2000        $0.82        $0.69         5%        $0.66
00054 - ROXANE LABORATORIES, INC.   00054861625   MEXILETINE 150 MG CAPSULE         10/1/1997     9/30/1998        $0.77        $0.69         5%        $0.66
00054 - ROXANE LABORATORIES, INC.   00054861625   MEXILETINE 150 MG CAPSULE         10/1/1998    11/30/2000        $0.82        $0.69         5%        $0.66
00054 - ROXANE LABORATORIES, INC.   00054261725   MEXILETINE 200 MG CAPSULE         10/1/1997     9/30/1998        $0.91        $0.82         5%        $0.78
00054 - ROXANE LABORATORIES, INC.   00054261725   MEXILETINE 200 MG CAPSULE         10/1/1998    11/30/2000        $0.98        $0.82         5%        $0.78
00054 - ROXANE LABORATORIES, INC.   00054261725   MEXILETINE 200 MG CAPSULE         1/22/2002    11/30/2002        $0.97        $0.82         5%        $0.74
00054 - ROXANE LABORATORIES, INC.   00054261725   MEXILETINE 200 MG CAPSULE         12/1/2002     8/31/2004        $0.97        $0.82        10%        $0.74
00054 - ROXANE LABORATORIES, INC.   00054261725   MEXILETINE 200 MG CAPSULE           9/1/2004                     $0.97        $0.82        17%        $0.68
00054 - ROXANE LABORATORIES, INC.   00054861725   MEXILETINE 200 MG CAPSULE         10/1/1997     9/30/1998        $0.91        $0.82         5%        $0.78
00054 - ROXANE LABORATORIES, INC.   00054861725   MEXILETINE 200 MG CAPSULE         10/1/1998    11/30/2000        $0.98        $0.82         5%        $0.78
00054 - ROXANE LABORATORIES, INC.   00054861725   MEXILETINE 200 MG CAPSULE         1/22/2002    11/30/2002        $0.97        $0.82         5%        $0.74
00054 - ROXANE LABORATORIES, INC.   00054861725   MEXILETINE 200 MG CAPSULE         12/1/2002     8/31/2004        $0.97        $0.82        10%        $0.74
00054 - ROXANE LABORATORIES, INC.   00054861725   MEXILETINE 200 MG CAPSULE           9/1/2004                     $0.97        $0.82        17%        $0.68
00054 - ROXANE LABORATORIES, INC.   00054261825   MEXILETINE 250 MG CAPSULE         10/1/1997     9/30/1998        $1.06        $0.96         5%        $0.91
00054 - ROXANE LABORATORIES, INC.   00054261825   MEXILETINE 250 MG CAPSULE         10/1/1998    11/30/2000        $1.14        $0.96         5%        $0.91
00054 - ROXANE LABORATORIES, INC.   00054266125   PIROXICAM 20 MG CAPSULE             3/1/1994    7/31/1994        $1.60        $1.30         5%        $1.24
00054 - ROXANE LABORATORIES, INC.   00054266129   PIROXICAM 20 MG CAPSULE             3/1/1994    7/31/1994        $1.60        $1.30         5%        $1.24
00054 - ROXANE LABORATORIES, INC.   00054001720   PREDNISONE 10 MG TABLET           7/21/2005                      $0.06        $0.06        17%        $0.05
00054 - ROXANE LABORATORIES, INC.   00054001725   PREDNISONE 10 MG TABLET           7/21/2005                      $0.06        $0.06        17%        $0.05
00054 - ROXANE LABORATORIES, INC.   00054001729   PREDNISONE 10 MG TABLET           7/21/2005                      $0.06        $0.06        17%        $0.05
00054 - ROXANE LABORATORIES, INC.   00054473025   PREDNISONE 10 MG TABLET           7/21/2005                      $0.06        $0.06        17%        $0.05
00054 - ROXANE LABORATORIES, INC.   00054473029   PREDNISONE 10 MG TABLET           7/21/2005                      $0.06        $0.06        17%        $0.05
00054 - ROXANE LABORATORIES, INC.   00054872525   PREDNISONE 10 MG TABLET           7/21/2005                      $0.06        $0.06        17%        $0.05
00054 - ROXANE LABORATORIES, INC.   00054472831   PREDNISONE 5 MG TABLET              5/1/1994    7/31/1994        $0.03        $0.03         5%        $0.02
00054 - ROXANE LABORATORIES, INC.   00054472125   PROPANTHELINE 15 MG TABLET          8/1/1996    1/31/1997        $0.23        $0.22         5%        $0.20
00054 - ROXANE LABORATORIES, INC.   00054472125   PROPANTHELINE 15 MG TABLET          2/1/1997    9/30/1997        $0.22        $0.22         5%        $0.20
00054 - ROXANE LABORATORIES, INC.   00054472131   PROPANTHELINE 15 MG TABLET          8/1/1996    1/31/1997        $0.23        $0.22         5%        $0.20
00054 - ROXANE LABORATORIES, INC.   00054472131   PROPANTHELINE 15 MG TABLET          2/1/1997    9/30/1997        $0.22        $0.22         5%        $0.20
00054 - ROXANE LABORATORIES, INC.   00054873725   PROPANTHELINE 15 MG TABLET          8/1/1996    1/31/1997        $0.23        $0.22         5%        $0.20
00054 - ROXANE LABORATORIES, INC.   00054873725   PROPANTHELINE 15 MG TABLET          2/1/1997    9/30/1997        $0.22        $0.22         5%        $0.20
00054 - ROXANE LABORATORIES, INC.   00054475925   PROPRANOLOL 20 MG TABLET          1/22/2002     1/31/2002        $0.07        $0.04         5%        $0.04



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                                                                 Attachment 1
                                                   ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                               Price Info                            Price Info
                                      Formlry                                      Price Info    Price Info    FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc       Product ID       Formlry Product Label Name    Eff Date     End Date         Amt       AWP Amt      AWP - X%       Amt
00054 - ROXANE LABORATORIES, INC.   00054475925   PROPRANOLOL 20 MG TABLET            2/1/2002   11/30/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475925   PROPRANOLOL 20 MG TABLET          12/1/2002     8/31/2004         $0.07        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475925   PROPRANOLOL 20 MG TABLET            9/1/2004                      $0.07        $0.04        17%        $0.03
00054 - ROXANE LABORATORIES, INC.   00054475931   PROPRANOLOL 20 MG TABLET          1/22/2002     1/31/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475931   PROPRANOLOL 20 MG TABLET            2/1/2002   11/30/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475931   PROPRANOLOL 20 MG TABLET          12/1/2002     8/31/2004         $0.07        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475931   PROPRANOLOL 20 MG TABLET            9/1/2004                      $0.07        $0.04        17%        $0.03
00054 - ROXANE LABORATORIES, INC.   00054475933   PROPRANOLOL 20 MG TABLET          1/22/2002     1/31/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475933   PROPRANOLOL 20 MG TABLET            2/1/2002   11/30/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475933   PROPRANOLOL 20 MG TABLET          12/1/2002     8/31/2004         $0.07        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054475933   PROPRANOLOL 20 MG TABLET            9/1/2004                      $0.07        $0.04        17%        $0.03
00054 - ROXANE LABORATORIES, INC.   00054875925   PROPRANOLOL 20 MG TABLET          1/22/2002     1/31/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054875925   PROPRANOLOL 20 MG TABLET            2/1/2002   11/30/2002         $0.07        $0.04         5%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054875925   PROPRANOLOL 20 MG TABLET          12/1/2002     8/31/2004         $0.07        $0.04        10%        $0.04
00054 - ROXANE LABORATORIES, INC.   00054875925   PROPRANOLOL 20 MG TABLET            9/1/2004                      $0.07        $0.04        17%        $0.03
00054 - ROXANE LABORATORIES, INC.   00054885225   THIORIDAZINE 100 MG TABLET        1/22/2002    11/30/2002         $0.38        $0.31         5%        $0.30
00054 - ROXANE LABORATORIES, INC.   00054885225   THIORIDAZINE 100 MG TABLET        12/1/2002     3/31/2003         $0.38        $0.31        10%        $0.28
00054 - ROXANE LABORATORIES, INC.   00054885225   THIORIDAZINE 100 MG TABLET          4/1/2003    8/31/2003         $0.50        $0.31        10%        $0.28
00054 - ROXANE LABORATORIES, INC.   00054885225   THIORIDAZINE 100 MG TABLET          9/1/2003    8/31/2004         $0.49        $0.31        10%        $0.28
00054 - ROXANE LABORATORIES, INC.   00054885225   THIORIDAZINE 100 MG TABLET          9/1/2004      5/7/2005        $0.49        $0.31        17%        $0.26
00054 - ROXANE LABORATORIES, INC.   00054386150   THIORIDAZINE 100 MG/ML CONC         3/1/1994    4/30/1994         $0.32        $0.28         5%        $0.26
00054 - ROXANE LABORATORIES, INC.   00054386150   THIORIDAZINE 100 MG/ML CONC         5/1/1994    7/31/1994         $0.32        $0.30         5%        $0.28
00054 - ROXANE LABORATORIES, INC.   00054386150   THIORIDAZINE 100 MG/ML CONC         8/1/1995   12/31/1995         $0.45        $0.31         5%        $0.29
00054 - ROXANE LABORATORIES, INC.   00054386150   THIORIDAZINE 100 MG/ML CONC         1/1/1996    9/30/1998         $0.46        $0.31         5%        $0.29
00054 - ROXANE LABORATORIES, INC.   00054884925   THIORIDAZINE 10MG TABLET          12/1/2002     3/31/2003         $0.14        $0.15        10%        $0.13
00054 - ROXANE LABORATORIES, INC.   00054884925   THIORIDAZINE 10MG TABLET            4/1/2003    8/31/2004         $0.22        $0.15        10%        $0.13
00054 - ROXANE LABORATORIES, INC.   00054884925   THIORIDAZINE 10MG TABLET            9/1/2004      5/7/2005        $0.22        $0.15        17%        $0.12
00054 - ROXANE LABORATORIES, INC.   00054885025   THIORIDAZINE 25 MG TABLET           4/1/2003    8/31/2004         $0.30        $0.21        10%        $0.18
00054 - ROXANE LABORATORIES, INC.   00054885025   THIORIDAZINE 25 MG TABLET           9/1/2004      5/7/2005        $0.30        $0.21        17%        $0.17
00054 - ROXANE LABORATORIES, INC.   00054885125   THIORIDAZINE 50 MG TABLET         12/1/2002     8/31/2004         $0.39        $0.24        10%        $0.22
00054 - ROXANE LABORATORIES, INC.   00054885125   THIORIDAZINE 50 MG TABLET           9/1/2004      5/7/2005        $0.39        $0.24        17%        $0.20
00074 - ABBOTT LABORATORIES         00074330701   ACETYLCYSTEINE 10% VIAL           7/21/2005                       $0.98        $1.12        17%        $0.93



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                                                  ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                             Price Info                            Price Info
                                     Formlry                                      Price Info    Price Info   FAC/FUL      Price Info              Lowest Cost
      Formlry NDC Labeler Desc      Product ID       Formlry Product Label Name    Eff Date     End Date        Amt       AWP Amt      AWP - X%       Amt
00074 - ABBOTT LABORATORIES        00074330702   ACETYLCYSTEINE 10% VIAL           10/1/1997     4/30/1998        $0.98        $0.26         5%        $0.22
00074 - ABBOTT LABORATORIES        00074330702   ACETYLCYSTEINE 10% VIAL             5/1/1998    9/30/1998        $0.98        $0.28         5%        $0.23
00074 - ABBOTT LABORATORIES        00074330702   ACETYLCYSTEINE 10% VIAL           10/1/1998    11/30/1998        $0.33        $0.28         5%        $0.23
00074 - ABBOTT LABORATORIES        00074330702   ACETYLCYSTEINE 10% VIAL           1/22/2002    11/30/2002        $0.76        $0.24         5%        $0.23
00074 - ABBOTT LABORATORIES        00074330702   ACETYLCYSTEINE 10% VIAL           12/1/2002     3/31/2003        $0.76        $0.24        10%        $0.22
00074 - ABBOTT LABORATORIES        00074330702   ACETYLCYSTEINE 10% VIAL           7/21/2005                      $0.98        $0.24        17%        $0.20
00074 - ABBOTT LABORATORIES        00074330703   ACETYLCYSTEINE 10% VIAL           10/1/1997     4/30/1998        $0.36        $0.36         5%        $0.30
00074 - ABBOTT LABORATORIES        00074330703   ACETYLCYSTEINE 10% VIAL             5/1/1998    9/30/1998        $0.36        $0.38         5%        $0.32
00074 - ABBOTT LABORATORIES        00074330703   ACETYLCYSTEINE 10% VIAL           10/1/1998     4/30/1999        $0.46        $0.38         5%        $0.32
00074 - ABBOTT LABORATORIES        00074330703   ACETYLCYSTEINE 10% VIAL             5/1/1999   11/30/2000        $0.46        $0.40         5%        $0.34
00074 - ABBOTT LABORATORIES        00074330703   ACETYLCYSTEINE 10% VIAL           7/21/2005                      $0.98        $0.18        17%        $0.15
00074 - ABBOTT LABORATORIES        00074330802   ACETYLCYSTEINE 20% VIAL           10/1/1997     4/30/1998        $1.22        $0.27         5%        $0.23
00074 - ABBOTT LABORATORIES        00074330802   ACETYLCYSTEINE 20% VIAL             5/1/1998    9/30/1998        $1.22        $0.28         5%        $0.24
00074 - ABBOTT LABORATORIES        00074330802   ACETYLCYSTEINE 20% VIAL           10/1/1998    11/30/1998        $0.34        $0.28         5%        $0.24
00074 - ABBOTT LABORATORIES        00074330802   ACETYLCYSTEINE 20% VIAL           1/22/2002    11/30/2002        $0.93        $0.25         5%        $0.23
00074 - ABBOTT LABORATORIES        00074330802   ACETYLCYSTEINE 20% VIAL           12/1/2002     5/31/2003        $0.93        $0.25        10%        $0.22
00074 - ABBOTT LABORATORIES        00074330803   ACETYLCYSTEINE 20% VIAL           10/1/1997     4/30/1998        $0.42        $0.35         5%        $0.29
00074 - ABBOTT LABORATORIES        00074330803   ACETYLCYSTEINE 20% VIAL             5/1/1998    9/30/1998        $0.42        $0.37         5%        $0.31
00074 - ABBOTT LABORATORIES        00074330803   ACETYLCYSTEINE 20% VIAL           10/1/1998     4/30/1999        $0.44        $0.37         5%        $0.31
00074 - ABBOTT LABORATORIES        00074330803   ACETYLCYSTEINE 20% VIAL             5/1/1999   11/30/2000        $0.44        $0.38         5%        $0.32
00074 - ABBOTT LABORATORIES        00074630613   E.E.S. 200 MG/5 ML SUSPENSION       1/1/1995    9/30/1996        $0.06        $0.04         5%        $0.03
00074 - ABBOTT LABORATORIES        00074630613   E.E.S. 200 MG/5 ML SUSPENSION     10/1/1996     1/31/1997        $0.06        $0.04         5%        $0.04
00074 - ABBOTT LABORATORIES        00074630613   E.E.S. 200 MG/5 ML SUSPENSION     10/1/1997     9/30/1998        $0.06        $0.04         5%        $0.04
00074 - ABBOTT LABORATORIES        00074637313   E.E.S. 400 MG/5 ML SUSPENSION       1/1/1995    7/31/1995        $0.10        $0.08         5%        $0.06
00074 - ABBOTT LABORATORIES        00074631613   ERYTHROCIN 500 MG FILMTAB           2/1/1997    9/30/1997        $0.23        $0.26         5%        $0.22
00074 - ABBOTT LABORATORIES        00074631613   ERYTHROCIN 500 MG FILMTAB         10/1/1997     9/30/1998        $0.24        $0.26         5%        $0.22
00074 - ABBOTT LABORATORIES        00074189713   JANIMINE 10 MG TABLET             12/1/2000     1/21/2002        $0.16        $0.03         5%        $0.03
00074 - ABBOTT LABORATORIES        00074189713   JANIMINE 10 MG TABLET             1/22/2002    11/30/2002        $0.15        $0.03         5%        $0.03
00074 - ABBOTT LABORATORIES        00074189713   JANIMINE 10 MG TABLET             12/1/2002     3/31/2003        $0.15        $0.03        10%        $0.03
00074 - ABBOTT LABORATORIES        00074189713   JANIMINE 10 MG TABLET               4/1/2003    8/31/2003        $0.32        $0.03        10%        $0.03
00074 - ABBOTT LABORATORIES        00074189713   JANIMINE 10 MG TABLET               9/1/2003    8/31/2004        $0.26        $0.03        10%        $0.03
00074 - ABBOTT LABORATORIES        00074189713   JANIMINE 10 MG TABLET               9/1/2004                     $0.26        $0.03        17%        $0.03



                                                                                                                                                           Page 7 of 9
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                                                                Attachment 1
                                                  ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                             Price Info                              Price Info
                                     Formlry                                      Price Info    Price Info   FAC/FUL       Price Info               Lowest Cost
       Formlry NDC Labeler Desc     Product ID       Formlry Product Label Name    Eff Date     End Date        Amt        AWP Amt       AWP - X%       Amt
00074 - ABBOTT LABORATORIES        00074189719   JANIMINE 10 MG TABLET             12/1/2000     1/21/2002        $0.16         $0.03          5%        $0.03
00074 - ABBOTT LABORATORIES        00074189719   JANIMINE 10 MG TABLET             1/22/2002    11/30/2002        $0.15         $0.03          5%        $0.03
00074 - ABBOTT LABORATORIES        00074189719   JANIMINE 10 MG TABLET             12/1/2002     3/31/2003        $0.15         $0.03         10%        $0.03
00074 - ABBOTT LABORATORIES        00074189719   JANIMINE 10 MG TABLET               4/1/2003    8/31/2003        $0.32         $0.03         10%        $0.03
00074 - ABBOTT LABORATORIES        00074189719   JANIMINE 10 MG TABLET               9/1/2003    8/31/2004        $0.26         $0.03         10%        $0.03
00074 - ABBOTT LABORATORIES        00074189719   JANIMINE 10 MG TABLET               9/1/2004                     $0.26         $0.03         17%        $0.03
00074 - ABBOTT LABORATORIES        00074189813   JANIMINE 25 MG TABLET             12/1/2000     1/21/2002        $0.19         $0.06          5%        $0.05
00074 - ABBOTT LABORATORIES        00074189813   JANIMINE 25 MG TABLET             1/22/2002    11/30/2002        $0.17         $0.06          5%        $0.05
00074 - ABBOTT LABORATORIES        00074189813   JANIMINE 25 MG TABLET             12/1/2002     3/31/2003        $0.17         $0.06         10%        $0.05
00074 - ABBOTT LABORATORIES        00074189813   JANIMINE 25 MG TABLET               4/1/2003    8/31/2003        $0.43         $0.06         10%        $0.05
00074 - ABBOTT LABORATORIES        00074189813   JANIMINE 25 MG TABLET               9/1/2003    8/31/2004        $0.36         $0.06         10%        $0.05
00074 - ABBOTT LABORATORIES        00074189813   JANIMINE 25 MG TABLET               9/1/2004                     $0.36         $0.06         17%        $0.05
00074 - ABBOTT LABORATORIES        00074189819   JANIMINE 25 MG TABLET             12/1/2000     1/21/2002        $0.19         $0.06          5%        $0.05
00074 - ABBOTT LABORATORIES        00074189819   JANIMINE 25 MG TABLET             1/22/2002    11/30/2002        $0.17         $0.06          5%        $0.05
00074 - ABBOTT LABORATORIES        00074189819   JANIMINE 25 MG TABLET             12/1/2002     3/31/2003        $0.17         $0.06         10%        $0.05
00074 - ABBOTT LABORATORIES        00074189819   JANIMINE 25 MG TABLET               4/1/2003    8/31/2003        $0.43         $0.06         10%        $0.05
00074 - ABBOTT LABORATORIES        00074189819   JANIMINE 25 MG TABLET               9/1/2003    8/31/2004        $0.36         $0.06         10%        $0.05
00074 - ABBOTT LABORATORIES        00074189819   JANIMINE 25 MG TABLET               9/1/2004                     $0.36         $0.06         17%        $0.05
00074 - ABBOTT LABORATORIES        00074189913   JANIMINE 50 MG TABLET             12/1/2000     1/21/2002        $0.23         $0.11          5%        $0.09
00074 - ABBOTT LABORATORIES        00074189913   JANIMINE 50 MG TABLET             1/22/2002    11/30/2002        $0.20         $0.11          5%        $0.09
00074 - ABBOTT LABORATORIES        00074189913   JANIMINE 50 MG TABLET             12/1/2002     3/31/2003        $0.20         $0.11         10%        $0.10
00074 - ABBOTT LABORATORIES        00074189913   JANIMINE 50 MG TABLET               4/1/2003    8/31/2003        $0.56         $0.11         10%        $0.10
00074 - ABBOTT LABORATORIES        00074189913   JANIMINE 50 MG TABLET               9/1/2003    8/31/2004        $0.46         $0.11         10%        $0.10
00074 - ABBOTT LABORATORIES        00074189913   JANIMINE 50 MG TABLET               9/1/2004                     $0.46         $0.11         17%        $0.09
00074 - ABBOTT LABORATORIES        00074189919   JANIMINE 50 MG TABLET             12/1/2000     1/21/2002        $0.23         $0.11          5%        $0.09
00074 - ABBOTT LABORATORIES        00074189919   JANIMINE 50 MG TABLET             1/22/2002    11/30/2002        $0.20         $0.11          5%        $0.10
00074 - ABBOTT LABORATORIES        00074189919   JANIMINE 50 MG TABLET             12/1/2002     3/31/2003        $0.20         $0.11         10%        $0.10
00074 - ABBOTT LABORATORIES        00074189919   JANIMINE 50 MG TABLET               4/1/2003    8/31/2003        $0.56         $0.11         10%        $0.10
00074 - ABBOTT LABORATORIES        00074189919   JANIMINE 50 MG TABLET               9/1/2003    8/31/2004        $0.46         $0.11         10%        $0.10
00074 - ABBOTT LABORATORIES        00074189919   JANIMINE 50 MG TABLET               9/1/2004                     $0.46         $0.11         17%        $0.09
49502 - DEY L.P.                   49502018130   ACETYLCYSTEINE 10% VIAL             9/1/2000   11/30/2000         $0.46         $0.44         5%         $0.42
49502 - DEY L.P.                   49502018130   ACETYLCYSTEINE 10% VIAL           7/21/2005                       $0.98         $0.44        17%         $0.37



                                                                                                                                                             Page 8 of 9
                              Case 1:01-cv-12257-PBS Document 6528-92 Filed 09/22/09 Page 14 of 14
                                                                Attachment 1
                                                  ABBOTT‐DEY‐ROXANE, FULs greater than AWP‐X%
                                                                                                            Price Info                              Price Info
                                     Formlry                                      Price Info   Price Info   FAC/FUL       Price Info               Lowest Cost
       Formlry NDC Labeler Desc     Product ID       Formlry Product Label Name    Eff Date    End Date        Amt        AWP Amt       AWP - X%       Amt
49502 - DEY L.P.                   49502043101   THEOPHYLLINE 100 MG TAB SA        12/1/2002    5/31/2003         $0.12         $0.12        10%         $0.11
49502 - DEY L.P.                   49502043201   THEOPHYLLINE 200 MG TAB SA       10/27/2006                      $0.22         $0.23        17%         $0.19
49502 - DEY L.P.                   49502043205   THEOPHYLLINE 200 MG TAB SA       10/27/2006                      $0.22         $0.23        17%         $0.19
49502 - DEY L.P.                   49502043301   THEOPHYLLINE 300 MG TAB SA       10/27/2006                      $0.26         $0.23        17%         $0.19
49502 - DEY L.P.                   49502043305   THEOPHYLLINE 300 MG TAB SA       10/27/2006                      $0.26         $0.23        17%         $0.19
49502 - DEY L.P.                   49502043310   THEOPHYLLINE 300 MG TAB SA       10/27/2006                      $0.26         $0.23        17%         $0.19




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